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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                      Case No.: 10−36159−NLW
                                      Chapter: 7
                                      Judge: Novalyn L. Winfield

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Henry Bell
   266 Linden Ave
   Jersey City, NJ 07305
Social Security No.:
   xxx−xx−5842
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Barbara Edwards is discharged as trustee of the estate of the above named debtor(s) and the
bond is canceled; and the case of the above named debtor(s) is closed.


Dated: September 6, 2013                          Novalyn L. Winfield
                                                  Judge, United States Bankruptcy Court
